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                              UNITED STATED DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

CRICUT, INC., A Delaware corporation,                   MOTION FOR PRO HAC VICE
                                                        ADMISSION OF DAVID TOBIN
                  Plaintiff,                          AND CONSENT OF LOCAL COUNSEL

v.
                                                             Case No. 2:21-cv-00601-DBB
ENOUGH FOR EVERYONE, INC., a Nevada
corporation, and DESIRÉE TANNER, an                               Judge David Barlow
individual,

                  Defendants.


          Pursuant to DUCiv 83-1.1(d), I move for the admission of David Tobin, of Baker Botts

L.L.P., as pro hac vice counsel for Plaintiff Cricut, Inc. and consent to serve as local counsel.

The application for pro hac vice admission and a proposed order are attached as Exhibits A and

B, and the admission fee has been paid to the Court with the filing of this motion.




4844-0314-3422
          DATED this 13th day of October, 2021.
                                                      SNELL & WILMER, LLP


                                                      /s/ Jeremy J. Stewart
                                                      Matthew L. Lalli
                                                      Jeremy J. Stewart
                                                      Sarah A. Hafen

                                                      Attorneys for Cricut, Inc.




4844-0314-3422                                    2
